
Turley, J.
delivered the opinion of the court.
John D. Martin, executor of Samuel Dickins, recovered judgment against Jesse Isler, administrator of Joseph H. Bryan, *566and caused his execution thereon to be levied upon certain ne-groes' of the estate of said Joseph at the time of his death, and which came to the hands of the administrator to be administered.
Sally Ann Bryan, the complainant, and relict of said Joseph, files this her bill, to enjoin the sale of said slaves, alledging as cause therefor, that after the death of the said Joseph, the said Jesse Isler, his administrator, and herself entered mutually into a contract by indenture, by which it was agreed between them, that the said Jesse Isler released and for ever quitclaim to the said Sally Ann all title, claim and demand he had to said ne-groes, and in consideration thereof, she bargained and sold to him, his heirs and assigns forever, all her interest in the estate of her deceased husband. And the question now is, whether this contract is obligatory as to the creditors of the said Joseph H. Bryan, and frees the negroes in controversy from the execution of the defendant. It is argued that this contract is a distribution so far as the negroes are concerned; that it vests the legal title to them in Sally-Ann Bryan, and that they have ceased to be assets in the hands of the administrator, for the satisfaction of debts. Such is not our opinion. This is no distribution, but a contract of sale on the part of the administrator, supported by the consideration of the relinquishment, on the part of Sally Ann Bryan, of all interest in her deceased husband’s estate to him.
This sale on the part of the administrator is void under the provisions of the act of 1827, ch. 61, which avoids all sales of slaves by executors or administrators, unless they be made upon the order of the Circuit or Chancery Court, upon petition filed for that purpose. This extends to the protection of legatees, distributees and creditors.
The sale then being void, the execution was properly levied, and the bill must be dismissed.
